        Case 3:21-cv-00780-SI       Document 89       Filed 04/11/24     Page 1 of 7




Rebecca Cambreleng, OSB No. 133209
rebecca@employmentlaw-nw.com
Ashley A. Marton, OSB No. 171584
ashley@employmentlaw-nw.com
CAMBRELENG & MARTON LLC
3518 S. Corbett Ave.
Portland, Oregon 97239
Telephone: (503) 477-4899
Of Attorneys for Plaintiff

Meredith Holley, OSB No. 125647
Meredith@erisresolution.com
Law Office of Meredith Holley
207 E 5th Avenue, Suite 254
Eugene, Oregon 97401
Telephone: (458) 221-2671
Attorney for Plaintiff


                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON

 LAURA HANSON,                             Case No. 3:21-CV-00780-SI

              Plaintiff,

       v.

 STATE OF OREGON                           PLAINTIFF’S PROPOSED
 LEGISLATIVE ASSEMBLY,                     VERDICT FORM

               Defendant.




      Plaintiff Laura Hanson hereby submits the proposed verdict form attached to this pleading.

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Page 1 - PLAINTIFF’S PROPOSED VERDICT FORM                                 Cambreleng & Marton LLC
                                                                                  3518 S Corbett Ave
                                                                              Portland, Oregon 97239
                                                                                      (503) 477-4899
         Case 3:21-cv-00780-SI       Document 89   Filed 04/11/24   Page 2 of 7




       Dated this 11th day of April, 2024.

Respectfully submitted,


_/s Rebecca Cambreleng_____________
Rebecca Cambreleng, OSB No. 133209
Rebecca@employmentlaw-nw.com
CAMBRELENG & MARTON LLC
3518 S. Corbett Avenue
Portland, OR 97239
Of Attorneys for Plaintiff

Meredith Holley(she/her), OSB No. 125647
Meredith@ErisResolution.com
Law Office of Meredith Holley
207 E 5th Avenue, Suite 254
Eugene, OR 97401
Phone: (458) 221-2671
Fax: (833) 352-3615
 Of Attorneys for Plaintiff




Page 2 - PLAINTIFF’S PROPOSED VERDICT FORM                           Cambreleng & Marton LLC
                                                                            3518 S Corbett Ave
                                                                        Portland, Oregon 97239
                                                                                (503) 477-4899
         Case 3:21-cv-00780-SI        Document 89      Filed 04/11/24     Page 3 of 7




                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                   PORTLAND DIVISION


 LAURA HANSON,                              Case No. 3:21-CV-00780-SI

               Plaintiff,

        v.

 STATE OF OREGON                             VERDICT
 LEGISLATIVE ASSEMBLY,

                Defendant.




       We, the jury, being first duly empaneled and sworn, find our verdict as follows:



All of you must agree on the following questions.


1. Disability Discrimination


       A. Is it more likely than not that defendant discriminated against Laura Hanson in the
          terms, conditions, or privileges of her employment based on her disability?


       Answer: Yes _____       No _____


       B. Is it more likely than not that defendant failed to accommodate Laura Hanson’s
          disabilities, leading to her termination from Senator Gelser’s office?


       Answer: Yes _____       No _____


Page 3 - PLAINTIFF’S PROPOSED VERDICT FORM                                  Cambreleng & Marton LLC
                                                                                   3518 S Corbett Ave
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                                                                                       (503) 477-4899
           Case 3:21-cv-00780-SI        Document 89      Filed 04/11/24     Page 4 of 7




         C. Is it more likely than not that defendant failed to accommodate Laura Hanson’s
            disabilities, leading to her termination from Representative Pham’s office?

         Answer: Yes _____       No _____




2. Medical Leave Interference or Discrimination


         A. Is it more likely than not that defendant interfered with any of Laura Hanson’s
            attempts to take medical leave?



         Answer: Yes _____       No _____


         B. Is it more likely than not that defendant discriminated against Laura Hanson in the
            terms and conditions of her employment in response to any inquiry about OFLA
            rights?


         Answer: Yes _____       No _____


3. Whistleblower Retaliation
   Is it more likely than not that that defendant retaliated against Laura Hanson in response to her
   good faith reports that she believed were evidence of a violation of a law, rule, or regulation?



   Answer: Yes _____         No _____

   ///

   ///

   ///


Page 4 - PLAINTIFF’S PROPOSED VERDICT FORM                                    Cambreleng & Marton LLC
                                                                                     3518 S Corbett Ave
                                                                                 Portland, Oregon 97239
                                                                                         (503) 477-4899
          Case 3:21-cv-00780-SI        Document 89      Filed 04/11/24      Page 5 of 7




4. Public Employee Whistleblower Retaliation
   Is it more likely than not that defendant retaliated against Laura Hanson in response to any

   disclosure she made that was evidence of violation of law, rule, regulation, mismanagement,

   or abuse of authority?



   Answer: Yes _____        No _____



If you answered no to all of the questions above, your verdict is for the Defendant. Do not answer

any further questions. Have your presiding juror sign this Verdict form.


If you answered yes to any of the questions above, move on to Question 5.


5. If you answered yes to Question 1 (Disability Discrimination), please answer the questions
   below about those claims:


       A. What, if any, are Laura Hanson’s economic damages? $_________________


       B. What, if any, are Laura Hanson’s noneconomic damages? $_______________




6. If you answered yes to Question 3 (Whistleblower Retaliation), please answer the questions
   below about that claim:


       A. What, if any, are Laura Hanson’s economic damages? $_________________


       B. What, if any, are Laura Hanson’s noneconomic damages? $_______________




Page 5 - PLAINTIFF’S PROPOSED VERDICT FORM                                   Cambreleng & Marton LLC
                                                                                    3518 S Corbett Ave
                                                                                Portland, Oregon 97239
                                                                                        (503) 477-4899
         Case 3:21-cv-00780-SI      Document 89      Filed 04/11/24    Page 6 of 7




7. If you answered yes to Question 4 (Public Employee Whistleblower Retaliation), please
   answer the questions below about that claim:


       A. What, if any, are Laura Hanson’s economic damages? $_________________


       B. What, if any, are Laura Hanson’s noneconomic damages? $_______________




Dated this ___ day of ____________, 2024




_______________________________

Presiding Juror Signature



________________________________

Presiding Juror Printed Name




                               CERTIFICATE OF SERVICE
Page 6 - PLAINTIFF’S PROPOSED VERDICT FORM                               Cambreleng & Marton LLC
                                                                                3518 S Corbett Ave
                                                                            Portland, Oregon 97239
                                                                                    (503) 477-4899
         Case 3:21-cv-00780-SI      Document 89      Filed 04/11/24   Page 7 of 7




       I certify that on April 11, 2024, I served the foregoing PLAINTIFF’S PROPOSED

VERDICT FORM upon the parties hereto via electronic means through the Court’s Case

Management/Electronic Case File system and via electronic mail:

                     Meredith Holley, OSB No. 125647
                     Meredith@erisresolution.com
                     Eris Conflict Resolution
                     207 E 5th Avenue, Suite 254
                     Eugene, Oregon 97401
                     Of Attorneys for Plaintiff

                     Marc Abrams, OSB No. 890149
                     Marc.abrams@doj.state.or.us
                     Allie Boyd, OSB No. 163478
                     Allie.m.boyd@doj.state.or.us
                     Oregon Department of Justice
                     100 SW Market Street
                     Portland, Oregon 97201
                     Attorneys for Defendant


                                             CAMBRELENG & MARTON LLC


                                          By: s/ Maxwell Joyner
                                              Max Joyner, Paralegal




Page 7 - PLAINTIFF’S PROPOSED VERDICT FORM                             Cambreleng & Marton LLC
                                                                              3518 S Corbett Ave
                                                                          Portland, Oregon 97239
                                                                                  (503) 477-4899
